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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS

                         ORDER OF THE EXECUTIVE COMMITTEE



      The Honorable Gary S. Feinerman will resign his Commission as a United States District
Judge effective December 31, 2022.

        IT IS HEREBY ORDERED That the civil cases on the attached list are to be reassigned
to the other judges of this Court as indicated, pursuant to Local Rule 40.1(f).

       IT IS ALSO ORDERED That any civil case that was assigned to the Honorable Gary S.
Feinerman and may require further judicial action in the future, shall be reassigned by lot to a
judge of this Court.



                                        ENTER:
                             FOR THE EXECUTIVE COMMITTEE



                         ____________________________________
                           Hon. Rebecca R. Pallmeyer, Chief Judge


Dated at Chicago, Illinois this 28th day of December, 2022




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Civil Cases Reassigned from Judge Feinerman to Judge Alonso

1:17-cv-07934     American Inter-Fidelity Exchange v. Rypninskyi et al
1:20-cv-01369     Thuet et al v. Chicago Public Schools, et al
1:20-cv-01444     Amor v. John Reid & Associates, Inc. et al
1:21-cv-01367     Correa v. OTTO Engineering Inc.
1:21-cv-04271     Trustees of the Chicago Regional Council of Carpenters Pension Fund et
                  al v. C&S Carpentry, LLC et al
1:21-cv-05336     Svoboda v. Amazon.com Inc. et al
1:22-cv-01181     Morseberger et al v. ATI Holdings, LLC, et al
1:22-cv-03433     Wolff v. Patina Solutions Group, Inc. et al
1:22-cv-05440     Martin v. Federal Bureau Of Prisons et al
1:22-cv-06269     Buxton v. 1237 Fullerton LLC et al

Civil Cases Reassigned from Judge Feinerman to Judge Blakey

1:18-cv-01991     Frazier et al v. Jeffreys
1:18-cv-06306     Homeland Insurance Company of New York v. Health
                  CareServiceCorporation
1:20-cv-03224     Reverse Mortgage Solutions, Inc. v. American Portfolio Mortgage
                  Corporation
1:21-cv-02906     Carpenter v. McDonald's Corporation
1:21-cv-06140     Bell v. Technicraft Collision Repair Experts, LLC
1:22-cv-01726     Jackson v. Peon et al
1:22-cv-03533     Baker v. Will County Sheriff Mike Kelley et al
1:22-cv-04918     Watkins Green v. City of Chicago et al
1:22-cv-05671     Rojas v. Telemarketer Displaying Caller ID of 302-660-0673
1:22-cv-06459     Jackson v. Kijakazi

Civil Cases Reassigned from Judge Feinerman to Judge Bucklo

1:19-cv-00775     Gaines v. Chicago Board Of Education et al
1:20-cv-03782     Jenkins, individually and on behalf of all others similarly situated v.
                  Regal Cinemas, Inc.
1:21-cv-02525     Bludgeon Riffola Ltd. v. The Partnerships and Unincorporated
                  Associations Identified on Schedule "A"
1:21-cv-02939     Walker v. City of Markham
1:21-cv-06288     Navarro v. City of Aurora, Illinois et al
1:22-cv-03550     Lewis v. Royal Die and Stamping Co., Inc.
1:22-cv-04962     Midland National Life Insurance Company v. Rivers et al
1:22-cv-05683     White v. Experian Information Solutions, Inc.
1:22-cv-06482     Vinet v. Chadek et al

Civil Cases Reassigned from Judge Feinerman to Judge Chang

1:20-cv-00887      Central States, Southeast and Southwest Areas Pension Fund et al v.
                   Oudenhoven Construction, Inc.
1:21-cv-00560      Massey Jr. v. Hardy et al
1:21-cv-03901      Gillette v. Rush University Medical Center
1:22-cv-00714      Wescott v. Block et al
1:22-cv-00884      Pedersen v. Dearborn Life Insurance Company

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1:22-cv-02659      Chicago Teachers Union, Local 1, IFT-AFT et al v. Educators for
                   Excellence, Inc.
1:22-cv-04574      Fisher v. City of Chicago et al
1:22-cv-05325      Newbery et al v. Samsung Electronics America, Inc.
1:22-cv-06133      Central States, Southeast and Southwest Areas Pension Fund et al v.
                   Event Media Inc. d/b/a Complete Crewing
1:22-cv-06660      Swirlate IP LLC v. RAB Lighting Inc.

Civil Cases Reassigned from Judge Feinerman to Judge Coleman

1:19-cv-01099      Colvin v. City Of Chicago et al
1:20-cv-03900      Murch v. Sun Life Assurance Company of Canada
1:21-cv-03122      Lattuca v. John Paul Mitchell Systems
1:21-cv-06306      Northwestern Memorial Healthcare v. Anthem Insurance Companies, Inc.
                   et al
1:22-cv-01876      Randazzo v. The Ides of March, LLC et al
1:22-cv-03581      Enciso v. XPO Logistics
1:22-cv-05067      Thomas et al v. ARC Automotive, Inc. et al
1:22-cv-05693      Ramirez v. Financial Recovery Services, Inc.
1:22-cv-06512      Gibbs v. Joliet Staffing, LLC et al

Civil Cases Reassigned from Judge Feinerman to Judge Durkin

1:20-cv-01440      Kennedy v. Chicago
1:21-cv-01304      Huntington National Bank, The v. Bobby's Lincoln Park LLC et al
1:21-cv-04801      Abdelhamid v. Walmart Inc.
1:22-cv-01179      Stegmann v. PetSmart LLC
1:22-cv-03287      Rucker v. Bushue Human Resources, Inc.
1:22-cv-04471      Travis v. Village Of Maywood et al
1:22-cv-04780      Gudani v. Graphic Packaging International
1:22-cv-05431      Bynum et al v. City Of Chicago et al
1:22-cv-06247      Citizens Insurance Company of America et al v. LSL Industries, Inc. et al

Civil Cases Reassigned from Judge Feinerman to Judge Ellis

1:17-cv-00204      Savory v. Cannon et al
1:20-cv-02845      Willich v. Takeda Pharmaceuticals U.S.A., Inc. et al
1:21-cv-01929      Wilson v. AIM Specialty Health
1:21-cv-05598      Lopez v. Cervantes, et al
1:22-cv-01587      Brady v. City of Chief of Police Brent Roalson, et al
1:22-cv-03448      Lewis v. Dejoy
1:22-cv-04851      O'Neil v. Bloomin' Brands, Inc. et al
1:22-cv-05563      ABC Corporation v. The Partnerships and Unincorporated Associations
                   Identified On Schedule A
1:22-cv-06295      FL, LLC v. The Partnerships and Unincorporated Associations Identified
                   on Schedule A,

Civil Cases Reassigned from Judge Feinerman to Judge Gettleman

1:21-cv-00569      Plumbers' Pension Fund Local 130, U.A. et al v. Chicago Pool's Inc et
                   al

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1:21-cv-04181       Klein v. Iterum Therapeutics plc et al
1:22-cv-00897       Moody v. Graham et al
1:22-cv-02728       Trustees of the Mid-America Carpenters Regional Council Pension
                    Fund et al v. Innovated Flooring, Inc.
1:22-cv-04215       Sipi Metals Corp v. Aransas Pass Precious Metal Recovery LLC et al
1:22-cv-05338       Noren v. Walmart Inc.
1:22-cv-06201       Allison v. TransUnion LLC
1:22-cv-06679       Strebel, et al v. Scoular

Civil Cases Reassigned from Judge Feinerman to Judge Gottschall

1:20-cv-00905      Shea v. Landsberg Orora, Inc., et al
1:22-cv-00871      Garcia et al v. Haji et al
1:22-cv-05307      Coleman v. Dakkota Integrated Systems, LLC
1:22-cv-06002      Hulais v. United States Department of State et al

Civil Cases Reassigned from Judge Feinerman to Judge Guzman

1:18-cv-01255      Levy v. Shulkin
1:22-cv-00837      Anderson v. Lawrence Hall Youth Services
1:22-cv-04238      Luchtenburg v. Forrester Research, Inc.
1:22-cv-04482      Arroyo et al v. Fifth Third Bank, N.A.
1:22-cv-05918      England Logistics, Inc v. ARB Transportation, Inc. et al

Civil Cases Reassigned from Judge Feinerman to Judge Kendall

1:19-cv-04782      Barhoumeh v. Wilkie
1:20-cv-02918      Harrison v. City Of Chicago et al
1:20-cv-06914      Cullum v. Wondrasek et al
1:21-cv-02228      Lee v. Diaz et al
1:21-cv-05752      Khanna v. Banks et al
1:22-cv-03449      Kaslyn v. County of Kendall et al
1:22-cv-04874      HOWARD v. Dollar Tree Stores, Inc.
1:22-cv-05566      Dache v. Information Systems Audit and Control Association Inc., et al.
1:22-cv-06346      Cohan v. Gateway 1, LLC.

Civil Cases Reassigned from Judge Feinerman to Judge Kennelly

1:21-cv-00112      Williams v. Illinois Department of Human Services
1:21-cv-03647      De Hoyos v. Northeast Illinois Regional Commuter Railroad Corporation
1:22-cv-00877      Spann v. Krewer et al
1:22-cv-02357      Shiba v. Mayorkas
1:22-cv-04481      Negrete v. Dart et al
1:22-cv-05264      Hamed v. MAYORKAS et al
1:22-cv-05905      Ortega et al v. Barragon Demolition & Construction, Inc. et al
1:22-cv-06621      GS Holistic, LLC v. Bismillah Management, Inc et al

Civil Cases Reassigned from Judge Feinerman to Judge Kness

1:19-cv-03204      Mantissa Corporation v. FiServ Solutions, LLC
1:20-cv-05156      Helms-Alcozer v. United States

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1:20-cv-06714     Stonebridge of Gurnee, LLC v. United States of America
1:21-cv-03640     Busic v. Orphazyme A/S et al
1:21-cv-06756     Duff et al v. Rosenberg et al
1:22-cv-02272     Route Guidance Systems LLC v. Grubhub Inc.
1:22-cv-03906     Sanchez v. Pita Plus, Inc. et al
1:22-cv-05210     Beckley v. Cleveland Hardware and Forging Company et al
1:22-cv-06596     Evans v. United Parcel Service

Civil Cases Reassigned from Judge Feinerman to Judge Kocoras

1:19-cv-01544     Saxton v. Wolf
1:20-cv-06572     McDonald v. DuPage Public Safety Communications d/b/a DU-COMM
1:22-cv-00366     Barcenas et al v. Rush University Medical Center et al
1:22-cv-00675     Brown v. Chicago Transit Authority et al
1:22-cv-04053     Ace American Insurance Co. v. H&K International, Inc. et al
1:22-cv-04110     Mensah v. Wolters Kluwer, Inc.
1:22-cv-05085     Great American Alliance Insurance Company v. Visionary Sleep, LLC et
                  al
1:22-cv-05887     Fabiyi v. First Student Management et al
1:22-cv-05902     Holmes v. City of Chicago et al
1:22-cv-06115     Powell v. Digby's Detective and Security Agency, Inc.

Civil Cases Reassigned from Judge Feinerman to Judge Lefkow

1:20-cv-06054     Adebowale v. City of Chicago et al
1:22-cv-00112     Argento SC by Sicura, Inc. v. Turtle Wax, Inc. et al
1:22-cv-03613     Vargas v. Commonwealth Edison Co.
1:22-cv-05874     Loving v. Rose Paving, LLC
1:22-cv-06083     Sava et al v. 21st Century Spirits, LLC et al

Civil Cases Reassigned from Judge Feinerman to Judge Leinenweber

1:19-cv-02504     Moore v. Club Exploria, LLC et al
1:22-cv-00029     Florsheim v. Funkhouser Vegosen Liebman & Dunn Ltd. et al
1:22-cv-00881     Falls v. Advocate Aurora Health d/b/a Christ Medical Center
1:22-cv-03987     Advanced Physical Medicine of Yorkville, Ltd. v. Allied Benefit Systems,
                  Inc. et al
1:22-cv-05790     Claybon v. City of Chicago et al



Civil Cases Reassigned from Judge Feinerman to Judge Maldonado

1:20-cv-04595     Kelley-Lomax v. City Of Chicago et al
1:20-cv-05948     Hampton v. Mendrick et al
1:21-cv-06624     Jane Doe v. Fenix Internet, LLC
1:22-cv-02193     Clarity Laboratories LLC v. Morris SNF Management, LLC
1:22-cv-03695     American Airlines, Inc. v. The Individuals and Entities associated with the
                  domains identified in Exhibit A.
1:22-cv-05160     Paynter v. BG Medical, LLC et al
1:22-cv-05747     Smith v. Truitt

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1:22-cv-06046        Harris v. City of Chicago et al
1:22-cv-06579        Banks v. Gray Solutions, LLC
1:22-cv-06630        Alta Waterford LLC v. Clearday, Inc.

Civil Cases Reassigned from Judge Feinerman to Judge Pacold

1:17-cv-01890        Restoration Services LLC et al v. R&R BoardWalk, LLC et al
       1:21-cv-01218         Restoration Services, LLC et al v. R&R BoardWalk, LLC et al
1:20-cv-01130        Mansoori v. City of Chicago, et al
1:21-cv-01166        Q Excelsior Italia SRL v. Zurich American Insurance Company
1:21-cv-04521        Stanley v. Wills
1:22-cv-00978        Clarson et al v. Greco Contractors, Inc. et al
1:22-cv-03003        Strong v. Truitt et al
1:22-cv-04690        Garibay v. Lake County Jail et al
1:22-cv-05361        Macklin v. Amazon.com Services, LLC
1:22-cv-06222        GS Holistic, LLC v. Windy City Smoke Shop Inc., et al
1:22-cv-06744        Toyota Motor Sales, U.S.A., Inc. v. The Partnerships and Unincorporated
                     Associations Identified on Schedule A

Civil Cases Reassigned from Judge Feinerman to Judge Pallmeyer

1:20-cv-00421        Doorage Inc. v. Blue Crates LLC
1:20-cv-05280        Cook v. Wexford Healthcare Services et al
1:21-cv-06933        Gass v. ABC Bartending LLC et al
1:22-cv-03945        Art Ask Agency v. The Individuals, Corporations, Limited Liability
                     Companies, Partnerships, and Unincorporated Associations Identified on
                     Schedule A Hereto
1:22-cv-05770        United States of America v. Cloonan et al

Civil Cases Reassigned from Judge Feinerman to Judge Rowland

1:16-cv-02827        Cooper v. Retrieval-Masters Creditors Bureau, Inc.
1:17-cv-08547        Safari Childcare Inc et al v. Penny et al
1:20-cv-02824        Pickett v. Nicholson et al
1:21-cv-01600        Maria DiFranco, as the Independent Administrator of the Estate of Marco
                     DiFranco v. City of Chicago, a municipal corporation
1:21-cv-05587        Kalich et al v. National-Standard Company Targeted Retirement Benefit
                     Plan, et. al.
1:22-cv-01194        Central DuPage Hospital Association v. Blue Cross and Blue Shield of
                     Massachusetts, Inc. et al
1:22-cv-03442        Soberanis v. Fyr Construction, Inc. et al
1:22-cv-04844        Portage Theater LLC v. General Star Indemnity Company
1:22-cv-05526        Team Humanity, NGO v. Team Humanity, USA et al
1:22-cv-06294        SkyBitz Tank Monitoring Corporation et al v. Fleetwing Corporation

Civil Cases Reassigned from Judge Feinerman to Judge Seeger

1:20-cv-01045        Scatchell v. Villlage of Melrose Park et al
1:21-cv-01148        Arroyo v. City of Chicago Police Dept.
1:21-cv-04410        Thomas v. Wexford Health et al
1:22-cv-00977        River Grove Plaza Inc. v. Owners Insurance Company

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1:22-cv-02933     Schon v. The Individuals, Corporations, Limited Liability Companies,
                  Partnerships, and Unidentified Associations Identified on Schedule A
1:22-cv-04629     Cuello v. Daniel
1:22-cv-05342     Dyson Technology Limited v. The Partnerships and Unincorporated
                  Associations Identified on Schedule A
1:22-cv-06212     Pension Fund of Cement Masons' Union Local Union No. 502 et al v.
                  Onus Construction, Inc. et al
1:22-cv-06731     Central States, Southeast and Southwest Areas Pension Fund et al v. W.
                  N. Daul Transfer Lines, Inc.

Civil Cases Reassigned from Judge Feinerman to Judge Shah

1:19-cv-04892     Fischer et al v. Instant Checkmate LLC.
1:20-cv-04577     Mish International Monetary Inc. v. Vega Capital London, Ltd. et al
1:21-cv-00552     Jarolin-Bogert v. Cook County
1:21-cv-03229     Kashkeesh v. Microsoft Corporation
1:21-cv-03880     Clark v. Koziol
1:21-cv-06364     Hines v. Abbott Laboratories
1:22-cv-02464     International Union of Operating Engineers, Local 150, AFL-CIO v. Crystal
                  Concrete, Inc.
1:22-cv-05732     Saddiqui et al v. NABET-CWA, AFL-CIO, CLC et al
1:22-cv-06517     Smith v. Dart et al

Civil Cases Reassigned from Judge Feinerman to Judge Tharp

1:17-cv-08150     Upaid Systems, Ltd. v. Card Concepts, Inc.
1:18-cv-03872     Hayes v. White et al
1:20-cv-03088     Verboom Curry et al v. The Boeing Company
1:21-cv-02756     F. v. Martin et al
1:21-cv-05763     Carpenters Pension Fund of Illinois et al v. Calacci Construction Co., Inc.
1:22-cv-01639     Hartsfield v. Verizon Wireless
1:22-cv-03458     Spann v. Gomez et al
1:22-cv-04899     Ridwan et al v. The Boeing Company
1:22-cv-05660     Lawrence v Trax Records, Inc. et al
1:22-cv-06410     Bigfoot 4x4, Inc. v. The Individuals, Corporations, Limited Liability
                  Companies, Partnerships, and Unincorporated Associations Identified on
                  Schedule A

Civil Cases Reassigned from Judge Feinerman to Judge Valderrama

1:20-cv-00911     Mason v. Miles et al
1:21-cv-00814     James v. Surane
1:21-cv-04311     Trainauskas v. Jacob et al
1:22-cv-00919     Etienne v. City of Chicago et al
1:22-cv-01968     Sandoval v. PMJ ENTERPRISES INC et al
1:22-cv-02838     Diggs v. City of Chicago et al
1:22-cv-04618     Ejeh v. Hartford Life and Accident Insurance Compny
1:22-cv-06211     Espino v. All Concrete Chicago, Inc. et al
1:22-cv-06724     Phillips v. RSM US LLP

Civil Cases Reassigned from Judge Feinerman to Judge Wood

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1:17-cv-03591        Boim et al v. American Muslims for Palestine et al
       1:22-cv-06085         Boim et al v. American Muslims for Palestine et al
1:20-cv-01158        Norix Group, Inc. v. Correctional Technologies, Inc. et al
1:21-cv-04632        Khader v. Samsung Electronics America, Inc. et al
1:22-cv-00997        Atkins et al v. NextLevel Association Solutions, Inc. et al
1:22-cv-03135        Stanley Black & Decker, Inc. et al v. JCB Inc. et al
1:22-cv-04772        Boyer et al v. Abbott Vascular, Inc., et al
1:22-cv-05418        Ubisoft Entertainment, S.A. and Ubisoft, Inc. v. The Individuals,
                     Corporations, Limited Liability Companies, Partnerships, and
                     Unincorporated Associations Identified on Schedule A Hereto
1:22-cv-06015        Pierre-Michel Seri v. Will County Adult Detention Facility et al
1:22-cv-06232        Strike 3 Holdings, LLC v. Doe, subscriber assigned IP Address
                     75.15.251.213




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